       Case Case
            2:21-mj-00618-DJA
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1    JASON M. FRIERSON
     United States Attorney
2    Nevada Bar No. 7709
     BIANCA R. PUCCI
3    Assistant United States Attorney
     Nevada Bar No. 16129
4    District of Nevada
     501 Las Vegas Blvd. South, Suite 1100
5    Las Vegas, Nevada 89101
     Phone: (702) 388-5080
6    Bianca.Pucci@usdoj.gov
     Attorneys for the United States of America
7
                                   UNITED STATES DISTRICT COURT
8                                       DISTRICT OF NEVADA

9     IN THE MATTER OF SEARCH OF:                        Case No. 2:21-mj-00618-DJA
10    5711 W. TROPICANA AVE.
      BUILDING #1, APT. #186                             Government’s Motion to Unseal Case
11    LAS VEGAS, NEVADA 89103

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14          The United States of America, by and through the undersigned, respectfully moves this

15   Court for an Order to UNSEAL the instant case. Specifically, the undersigned requests to unseal

16   the Search Warrant filed under the instant case and all related documents in anticipation of

17   producing the same as discovery in Case No. 2:21-cr-00217-JCM-BNW.

18   DATED this 22nd day of June, 2022.

19                                                     Respectfully,

20                                                     JASON M. FRIERSON
                                                       United States Attorney
21
                                                       /s/ Bianca R. Pucci
22                                                     BIANCA R. PUCCI
                                                       Assistant United States Attorney
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       Case Case
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1                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
2
     IN THE MATTER OF SEARCH OF:                      Case No. 2:21-mj-00618-DJA
3
     5711 W. TROPICANA AVE.
4    BUILDING #1, APT. #186                           Order to Unseal Case
     LAS VEGAS, NEVADA 89103
5

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8          Based on the Motion of the Government, and good cause appearing therefore, IT IS

9    HEREBY ORDERED that the instant cases shall be unsealed.

10                    23rd day of June, 2022.
           DATED this ____

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                                                     _______________________________________
13                                                   HONORABLE DANIEL J. ALBREGTS
                                                     UNITED STATES MAGISTRATE JUDGE
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